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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


TREVOR FITZGIBBON                            )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )              Case No.     3:19-cv-477
                                             )
                                             )              TRIAL BY JURY
JESSELYN A. RADACK                           )              IS DEMANDED
                                             )
       Defendant.                            )
                                             )


                                 COMPLAINT
       Plaintiff, Trevor Fitzgibbon, by counsel, pursuant to Rule 3 of the Federal Rules

of Civil Procedure (the “Rules”), files the following Complaint against Defendant,

Jesselyn A. Radack (“Radack”).

       Plaintiff seeks (a) compensatory damages and punitive damages in an amount not

less than $3,350,000.00, (b) prejudgment interest on the principal sum awarded by the

Jury from April 9, 2019 to the date of Judgment at the rate of six percent (6%) per year,

(c) reasonable attorney’s fees in an amount to be determined by the Court, but not less

than $250,000.00, pursuant to contract and Rule 54(d)(2), and (d) court costs – arising

out of Defendant Radack’s fraud in the inducement, breach of contract, defamation and

common law conspiracy.

                                 I. INTRODUCTION

       1.      Jesselyn Radack is a deceitful and spiteful abuser of social media.




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       2.      On April 26, 2019, the United States District Court for the Eastern District

of Virginia held Radack in contempt. In its Order, the Court specifically found that:




[Fitzgibbon v. Radack, Case 3:18-cv-247 (Document 97, p. 3)].

       3.      This case is about Radack’s fraud in the inducement of a settlement

agreement, her repeated breaches of that contract, and her continuing nasty use of Twitter

to publish false and defamatory statements about Fitzgibbon.

       4.      In this case, Fitzgibbon seeks money damages for the extreme and

unconscionable defamation being perpetrated by Radack and her confederates. Radack’s

vengeful, indiscriminate and persistent use of social media to defame must be stopped.

Radack holds a law license. She has committed criminal or deliberately wrongful acts

that reflect adversely on her honesty, trustworthiness or fitness to practice law. She has

engaged in conduct involving dishonesty, fraud, deceit and misrepresentation. She and

her confederates cannot be allowed to use social media as a weapon to injure human

beings. Radack should be punished for her unlawful actions and a very strong message

needs to be sent to prevent others from acting in a similar way.




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                                       II. PARTIES

       5.      Plaintiff, Trevor Fitzgibbon (“Fitzgibbon”), was born in Lynchburg,

Virginia. He is 48-years old. He is a citizen of North Carolina. Fitzgibbon provides

domestic and global public relations and communication strategy for clients in Virginia

and elsewhere. Fitzgibbon’s clients include whistleblowers, authors, artists and activists.

       6.      Radack is a citizen of the District of Columbia. Through her business as

an advisor to whistleblowers and Government leakers, Radack has deep ties to Virginia.

She has multiple clients in Virginia for whom she provides substantial ongoing legal

services. In addition, she consults and provides business advice to multiple persons in

Virginia, including, without limitation, members of the Advisory Board of ExposeFacts.

[https://exposefacts.org/advisory-board/].   Radack is a high-profile business advisor,

attorney, and lecturer. She has also authored numerous books and other materials that

currently sell on Amazon, including:

       http://www.traitorbook.com/;

       https://smile.amazon.com/Enemy-State-Government-Truth-Teller-

Traitor/dp/1944869751/ref=sr_1_cc_2?s=aps&ie=UTF8&qid=1524770496&sr=1-2-

catcorr&keywords=Jesselyn+Radack;

       https://smile.amazon.com/Canary-Coalmine-Blowing-Whistle-

American/dp/1427609748/ref=sr_1_cc_4?s=aps&ie=UTF8&qid=1524770496&sr=1-4-

catcorr&keywords=Jesselyn+Radack;

       https://smile.amazon.com/Restoring-Republic-2008-CD-

Jesselyn/dp/B001FWXZYU/ref=sr_1_1?ie=UTF8&qid=1524770421&sr=8-

1&keywords=Radack.




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Radack has starred in several movies and documentaries on whistleblowers, secret

intelligence programs and espionage:

       https://smile.amazon.com/National-Bird-Jesselyn-

Radack/dp/B06WVXFKXP/ref=sr_1_cc_7?s=aps&ie=UTF8&qid=1524770496&sr=1-7-

catcorr&keywords=Jesselyn+Radack;

       https://www.bing.com/videos/search?q=Jesselyn+Radack+Bio&&view=detail&m

id=C0F10677E54126942253C0F10677E54126942253&&FORM=VRDGAR;

       https://www.imdb.com/title/tt5785976/?ref_=nm_knf_i1;

       https://www.imdb.com/title/tt5759856/?ref_=nm_flmg_slf_2;

       https://www.imdb.com/title/tt4065414/?ref_=nm_knf_i4.

Radack regularly accepts speaking engagements, both in the United States (including

Virginia) and abroad, including the following since 2013:

       https://www.youtube.com/watch?v=I5SXW3rTHEw (September 30, 2013)
       (Testifying before the European Union Parliament Committee)

      https://www.whistleblower.org/press/prominent-national-security-whistleblowers-
coming-fiu (October 24, 2013)
      (Speaking at Florida State University)

       https://www.youtube.com/watch?v=xjGsT-nmydA (February 8, 2014)
       (Speaking in Tacoma, Washington, for almost 2 hours)

       https://www.youtube.com/watch?v=IEUEhxEjj_I (February 21, 2014)
       (Speaking at the New Hampshire Liberty Forum)

       https://www.youtube.com/watch?v=4ephmr5x-Go (March 10, 2014)
       (Speaking in India at the India Today Conclave)

       https://www.youtube.com/watch?v=mEq42BDBVWk (March 16, 2014)
       (In London, England, to give the annual Sam Adams Award for Integrity and
       Intelligence to Bradley (a/k/a) Chelsea Manning – “Jesselyn had just been
       harassed by the UK Border Police and spoke about being questioned about her
       representation of Edward Snowden and Private Manning”)




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       https://www.c-span.org/video/?318762-1/challenges-facing-whistleblowers
       (April 8, 2014)
       (Speaking at the University of Southern California-Annenburg)

       https://www.youtube.com/watch?v=78ZeqS49pkM (April 23, 2014)
       (At the Tribeca Film Festival in New York)

       https://www.youtube.com/watch?v=cAKjEtLy45o (June 20, 2014)
       (Interviewed in Berlin, Germany)

        https://www.irishtimes.com/news/world/europe/spy-scandal-threatens-german-us-
relations-1.1857423 (July 3, 2014)
        (Testimony before the German Bundestag Commission)

       https://www.youtube.com/watch?v=isiBjM5W96M (December 12, 2014)
       (Joining Larry King Live from Arlington, Virginia)

       https://www.youtube.com/watch?v=aFszjzDjbo8 (March 6, 2015)
       (Speaking in Geneva, Switzerland)

       https://www.youtube.com/watch?v=jcg5aO_H9OU (March 31, 2015)
       (Speaking at Harvard University)

       https://www.youtube.com/watch?v=1FByjXWmiXk (April 12, 2015)
       (Speaking at the Goethe Institute in Germany)

       https://www.youtube.com/watch?v=1_1hKFXNbeI (June 22, 2015)
       (Interviewed in London, England)

       https://video.muhlenberg.edu/media/Woodrow+Wilson+Fellow+Jesselyn+Radack
+lecture%2C+%E2%80%9CWhistleblowing+and+the+Snowden+Effect%E2%80%9D/1
_egoqi1e2 (September 9, 2015)
       (Speaking at Muhlenberg College in Allentown, Pennsylvania)

       https://www.youtube.com/watch?v=MkheUav0dq0 (February 16, 2016)
       (Speaking on panel at the 66th Berlin International Film Festival)

       https://www.youtube.com/watch?v=-ACHCkyip1M (March 11-12, 2016)
       (Speaking at the CIJ Symposium in Berlin)

       https://www.youtube.com/watch?v=fHOKUDP9n0g (March 28, 2016)
       (Speaking at Harvard Law School)

       https://www.youtube.com/watch?v=PVXYdZZpZsA (April 27, 2016)
       (Speaking at the Boyd School of Law at UNLV)




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       https://www.youtube.com/watch?v=tvGb-KlE9NE (August 16, 2016)
       (Speaking in the United Kingdom)

       https://www.youtube.com/watch?v=u9_mIwDq4yY (February 9, 2017)
       (Speaking in Oslo, Norway, at the Public Calling conference for over 29 mins)

       https://matthewhoh.com/tag/jesselyn-radack/ (February 2018)
       (Speaking in London, England, at the Guardian)

       https://elevate.at/en/speakers/radack/ (March 4, 2018)
       (Speaking at the Elevate Festival in Graz, Austria)

       https://rightscon2018.sched.com/speaker/jesselynradack1 (May 16-18, 2018)
       (Speaking at RightsCon in Toronto, Canada)

       https://tcij.org/logan-symposium-2018/speakers/gabriella-coleman/3481-2/
       (Goldsmiths, University of London, October 19-20, 2018 1

       https://www.youtube.com/watch?v=Zgta8M3DMsM (April 11, 2019)
       (Appearing on PBS Newshour).

Radack conducts her business by and through Twitter.            Radack operates a Twitter

account, @JesselynRadack. She has over 36,500 followers. She describes herself as:




       1
             Defendant Radack clearly has no problem whatsoever travelling around
the World. She most certainly can travel to Richmond, Virginia, for trial.


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Many of Radack’s high-profile followers – i.e., her audience to whom she tweets,

promotes her causes and engages in business – live and work in Virginia.

                           III. JURIDICTION AND VENUE

       7.      The United States District Court for the Eastern District of Virginia has

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

citizens of different States and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest, costs and fees.

       8.      Radack is subject to personal jurisdiction in Virginia pursuant to

Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) and § 8.01-328.1(B) of

the Code, as well as the Due Process Clause of the United States Constitution. She is

subject to both general and specific personal jurisdiction. She engages in continuous and

systematic business in Virginia.      The contract at issue (settlement agreement) was

accepted in Virginia; performed in Virginia; and is governed by Virginia law. Radack

committed multiple intentional torts and acts of defamation in whole or part in Virginia.

Fitzgibbon suffered loss in Virginia, when, as a result of Radack’s fraud, Fitzgibbon

agreed to dismiss his action against Radack that was pending in this Court. Fitzgibbon

also suffered harm in Virginia where Radack published defamatory tweets to her

followers, including Fitzgibbon’s clients, colleagues and friends. Radack has minimum

contacts with Virginia such that the exercise of personal jurisdiction over her comports

with traditional notions of fair play and substantial justice and is consistent with the Due

Process Clause of the United States Constitution.       Radack’s misrepresentations and

persistent course of defamation has been purposefully directed at Fitzgibbon and

Virginia.




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          9.    Venue is proper in the Richmond Division of the United States District

Court for the Eastern District of Virginia pursuant to Title 28 U.S.C. § 1391(b)(1) and

(b)(2).

                     COUNT I – FRAUD IN THE INDUCEMENT

          10.   On April 13, 2018, Fitzgibbon commenced an action against Radack in the

United States District Court for the Eastern District of Virginia (Case 3:18-cv-247-REP)

(the “Radack Action).     In a second amended complaint filed in the Radack Action

[Document 60], Fitzgibbon alleged claims of malicious prosecution, defamation,

insulting words, abuse of process, and conspiracy. In the Radack Action, Fitzgibbon

sought money damages in the sum of $10,350,000.00 as a result of Radack’s malicious

prosecution, defamation and wrongdoing.

          11.   In March and April 2019, after the District Court in the Radack Action

entered an Order to Show Cause [Document 87] why Radack should not be held in

contempt for violating a restraining order entered in the Radack Action [Document 41],

Radack made multiple material misrepresentations to Fitzgibbon for the purpose of

inducing Fitzgibbon to settle his claims against Radack and her employer, the Institute for

Public Accuracy (“IPA”), 2 and release Radack and IPA from liability. Radack falsely

represented that:

          ●     She would not tweet, retweet, reply, like or otherwise post anything on
                Twitter, Facebook, YouTube or any other social media platform, or any
                other print or media outlet, that mentions Fitzgibbon or that is of and
                concerning Fitzgibbon;




          2
              Fitzgibbon’s claims against IPA were the subject of a separate action.
[Case 3:19-cv-102-REP (E.D. Va.)].


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        ●         She would not direct, request, encourage, entice, procure or otherwise
                  cause any third party, including but not limited to any friends, colleagues,
                  or clients, to tweet, retweet, reply, like or otherwise post anything on
                  Twitter, Facebook, YouTube, any other social media platform, or any print
                  or media outlet, that mentions Fitzgibbon or that is of and concerning
                  Fitzgibbon;

        ●         She would refrain from publishing, making, printing or communicating,
                  electronically, orally, in writing, or in any other manner, to any third party
                  (excluding her family members) or to the print or broadcast media, within
                  social media of any nature, or on the Internet, any disparaging comments
                  or words that would cause or contribute to Fitzgibbon being held in
                  disrepute by the public.

(the “Radack Misrepresentations”).

        12.       Fitzgibbon    reasonably    and   justifiably   relied   upon   the   Radack

Misrepresentations by agreeing to settle the Radack Action and release Radack and IPA

from liability.

        13.       On April 9, 2019, Fitzgibbon signed a settlement agreement with Radack.

Fitzgibbon was induced by Radack’s misrepresentations and deceit to enter into the

settlement agreement. But for Radack’s misrepresentations, Fitzgibbon would not have

signed the settlement agreement.

        14.       Radack’s representations were false at the time they were made. Her

actions and those of her confederates demonstrate that she had no present intention to

comply with the terms and conditions of the settlement agreement.                       Radack

misrepresented and concealed the fact that she planned and intended to continue

defaming Fitzgibbon on Twitter. Radack acted under false and deceitful pretenses to

obtain a dismissal of Fitzgibbon’s viable claims stated in the Radack Action.

        15.       Radack’s statements, actions, and concealment constitute fraud in the

inducement of contract.




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        16.    As a direct and proximate result of Radack’s fraud in the inducement,

 Fitzgibbon suffered damage and incurred loss, including, without limitation, loss of his

 viable claims, personal injuries, attorney’s fees, court costs, and other damages in the

 sum of $3,000,000.00 or such greater amount as is determined by the Jury.

                         COUNT II – BREACH OF CONTRACT

        17.    Paragraph 4 of the settlement agreement contains the following material

 terms and conditions:




        18.    Paragraph 4(e) of the settlement agreement provides that:




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       19.   Paragraph 6 of the settlement agreement states that:




       20.   Paragraph 12 of the settlement agreement provides that:




       21.   Paragraph 19 of the settlement agreement states that:




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        22.     Radack and Fitzgibbon signed the settlement agreement on April 9, 2019.

        23.     The settlement agreement is a valid and enforceable contract.

        24.     After April 9, 2019, Radack breached the settlement agreement by (a)

 tweeting, retweeting, replying, liking or otherwise posting statements on Twitter that

 mentioned Fitzgibbon or that were of and concerning Fitzgibbon (see below), (b)

 directing, requesting, encouraging, enticing, procuring or otherwise causing third parties,

 including, but not limited to, tweeps, friends, colleagues, or clients, to tweet, retweet,

 reply, like or otherwise post statements on Twitter that mentioned Fitzgibbon or that were

 of and concerning Fitzgibbon (see below), (c) publishing, making, printing or

 communicating to third parties (who were not family members) on Twitter disparaging

 comments or words that would cause or contribute to Fitzgibbon being held in disrepute

 by the public (see below), and (d) by disclosing the terms and condition of the settlement

 agreement to unauthorized persons, including Raymond Johansen (see below).

        25.     As a direct result of Radack’s breach of contract, Fitzgibbon suffered

 damage and incurred loss, including, without limitation, liquidated damages, loss of

 income and injury to business, attorney’s fees, court costs, and other damages in an

 amount to be determined by the evidence, but not less than $500,000.00.

                         COUNT III – DEFAMATION PER SE

        26.     Within days of signing the settlement agreement and since April 9, 2019,

 Radack ruthlessly published and republished false and defamatory statements of and

 concerning Fitzgibbon to third parties. These third parties, in turn, republished Radack’s

 defamation on their Twitter feeds. The false and defamatory statements at issue in this

 action have been published and republished millions of times on Twitter.




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        27.    Beginning on May 3, 2019 – exactly one day after the effective date of the

 settlement agreement – Radack and third parties acting in concert with her published the

 following false and defamatory statements of and concerning Fitzgibbon:




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        28.    On multiple occasions, Fitzgibbon requested Radack in writing to cease

 and desist from publishing false and defamatory statements on Twitter.       Radack

 disregarded Fitzgibbons pleas.




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        29.     Radack made and published to third-parties, including her 36,300 Twitter

 followers, numerous false factual statements, which are detailed verbatim above, of or

 concerning Fitzgibbon.

        30.     By tweeting and retweeting, Radack knew or should have known that her

 false and defamatory statements would be republished over and over by third-parties

 millions of times to Fitzgibbon’s detriment and injury.          Republication by Radack’s

 Twitter followers was the natural and probable consequence of Radack’s actions and was

 actually and/or presumptively authorized by Radack.             In addition to her original

 publications, Radack is liable for the republication of the false and defamatory statements

 by third-parties under the doctrine announced in Weaver v. Home Beneficial Co., 199 Va.

 196, 200, 98 S.E.2d 687 (1957) (“where the words declared on are slanderous per se their

 repetition by others is the natural and probable result of the original slander.”).

        31.     Radack’s false statements constitute defamation per se. The statements

 accuse and impute to Trevor Fitzgibbon the commission of felonies and crimes involving

 moral turpitude and for which Fitzgibbon may be punished and imprisoned in a state or

 federal institution.   Radack’s statements also impute to Fitzgibbon an unfitness to

 perform the duties of an office or employment for profit, or the want of integrity in the

 discharge of the duties of such office or employment. Radack’s statements also severely

 prejudice Fitzgibbon in his profession or trade.

        32.     Radack’s false statements harmed Fitzgibbon.

        33.     Radack made the false statements with actual or constructive knowledge

 that they were false or with reckless disregard for whether they were false. Radack acted

 with actual malice and reckless disregard for the truth for the following reasons:




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               a.      Radack set out to intentionally breach the settlement agreement

        and promote her nasty predetermined agenda, which was to destroy Fitzgibbon’s

        reputation with falsehoods.

               b.      After she was admonished to cease and desist, Radack continued to

        publish and republish false and scandalous statements and to use unnecessarily

        strong, violent, scandalous and egregious language and insulting words,

        disproportionate to any occasion.

               c.      Radack reiterated, repeated and continue to republish false and

        defamatory statements, and enticed others to do so out of a desire to hurt

        Fitzgibbon and to permanently stigmatize him.

        34.    Radack lacked reasonable grounds for any belief in the truth of her

 statements – statements that she publicly retracted on May 3, 2019.

        35.    As a direct result of Radack’s defamation, Fitzgibbon suffered substantial

 damage and loss, including, but not limited to, presumed damages, actual damages, loss

 of business and income, pain and suffering, emotional distress and trauma, insult,

 anguish, stress and anxiety, public ridicule, humiliation, embarrassment, indignity,

 damage and injury to his reputation, attorney’s fees, costs, and other out-of-pocket

 expenses in an amount to be determined by the Jury, but not less than $3,000,000.00.

                    COUNT IV – COMMON LAW CONSPIRACY

        36.    Beginning in April 2019 and continuing through the present, Radack

 combined, associated, agreed or acted in concert with Raymond Johansen, Bailey Lamon,

 “@Kaidinn” (and with others unknown to Plaintiff without discovery), for the express

 purpose of injuring Fitzgibbon in his business and reputation through the publication and




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 republication of false and defamatory statements. In furtherance of the conspiracy and

 preconceived joint plan, Radack and her confederates orchestrated a scheme the unlawful

 purpose of which was to defame Fitzgibbon in an effort to destroy his reputation and

 business. Acting in concert, Radack and her co-conspirators utilized Twitter, encrypted

 email and encrypted communications software [https://signal.org/] to publish, republish

 and spread the defamation and character assassination. Radack and her agents tweeted

 and retweeted the same words and messages on the same days, demonstrating that they

 were working in tandem to defame Fitzgibbon.

        37.    Beginning a mere six days after Radack signed the settlement agreement,

 Raymond Johansen and Bailey Lamon, acting in concert with Radack, began to tweet,

 retweet, publish and republish false and defamatory statements of and concerning

 Fitzgibbon, including the following:




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        38.    Anonymous Twitter account, “@Kaidinn”, acting in concert with Radack,

 tweeted the following false and defamatory statements about Fitzgibbon:




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        39.     Radack acted intentionally, purposefully, without lawful justification, and

 with the express knowledge that she was injuring Fitzgibbon.

        40.     Radack’s actions constitute a common law conspiracy to defame.

        41.     As a direct result of Radack’s conspiracy, Fitzgibbon suffered damage and

 loss, including, but not limited to, actual damages, including, loss and injury to his

 business, insult, pain and suffering, humiliation, embarrassment and injury to reputation,

 presumed damages, court costs, and other damages in an amount to be determined by the

 Jury, but not less than $3,000,000.00.


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        Trevor Fitzgibbon alleges the foregoing based upon personal knowledge, public

 statements of others, and records in his possession.         He believes that substantial

 additional evidentiary support, which is in the exclusive possession of Radack and her

 clients, agents, surrogates, alter egos and other third-parties, including former clients of

 Fitzgibbon Media, will exist for the allegations and claims set forth above after a

 reasonable opportunity for discovery.

        Fitzgibbon reserves the right to amend this Complaint upon discovery of

 additional instances of Radack’s wrongdoing.



                    CONCLUSION AND REQUEST FOR RELIEF

        WHEREFORE, Trevor Fitzgibbon respectfully requests the Court to enter

 Judgment against Jesselyn Radack as follows:

        A.      Compensatory damages in the amount of $3,000,000.00 or such greater

 amount as is determined by the Jury;

        B.      Punitive damages in the amount of $350,000.00 or the maximum amount

 allowed by law;

        C.      Prejudgment interest at the rate of 6% per year on the Principal Sum

 awarded by the Jury from April 9, 2019 to the date of Judgment;

        D.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

        E.      Attorney’s Fees and Costs;

        F.      Such other relief as is just and proper.



                           TRIAL BY JURY IS DEMANDED




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 DATED:      June 28, 2019



                             TREVOR FITZGIBBON



                             By:   /s/ Steven S. Biss
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                                   Counsel for the Plaintiff




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